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                             Exhibit 169
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                                   SPC Legrand, Damon G.




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MEMORANDUM FOR RECORD                                              23 September 2010

The following copy of AR 15-6 investigation into the death of SPC Legrand, Damon G. is the best
copy of the file on hand. The documents are difficult to read and are barely legible.




                    (b}(3), (b)(6)




Administrative Law Division




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                                       DEPART\iENT OF THE ARM\
                                      ~103D ;vlfLl'T ARY POLICE COlvlP.'\~tY
                                              FOB C!\LDWELL, !RA(1
                                                     APO :\E 0 1)3:z,\



                                                                                            :W JUNO?


  MEl'viORANDUJ\,1 FOR!               (b)(3)                 l
                                                    Comm:.md::r. 81Jn1 ;VIP BOE.
  SUBJ EC r: l 5-6 frnestigntion Findings and Recommendations


   I. On D June 2007,      ti             (b)(3), (b)(6) [ wusappointcd as th,:: Jnw;stin
  ,m informal inve~tigation iA \VAR 15-6 into the facts and circumstarn.:::s s,
  SP{· Legnmd and lnternation.al Police Liaison Officer. Mr. Butler member
  Phnom:, 571st \riiitr;ry P(,lkt, Company. The incident occu,;'."d in the G!
  kn,nvn :1:s, 1h,.: ''Old B;,quix:d1·· ncig.hbDrh.-,nd.

       Th~· 9,;iddines as published in AR l 5-ii were fr,llov,c-d.




 4.

                                •d appoinln1~m order::. as investigating ,;tfa::er.

      b.




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 \IF!\lOfv\NDI l:\f FOR!               (b)(3), (b)(6)                            I.
                                                           C0rrm1ander, R9'h :.·1P BDL
 Sl :g.1 ECT: l :,.,6 h1v1:s!igatiun FimlinEs and l~ec(m,m<:::n<latinu:-:


        Oi 1800 Began the 2823 process with all members of the squad

    c. !5 JUN 07

        ( 1) OIJOO Revh;ile<l all r(:r;-;ons that gave statements. for final r<::"lic,v rm<l signature.

        C?.\ l400 Departed FOR Wadmrs1:: back tc, FOR CahlwdL

        c3) l 700 Arrived FOB Caldwell.




        i.~l    120n C'.i:nnpilcd nil infoT;mii,n fr" the ,;uhm:qu-,,1!
        fflt:!H(,,




    b




                                ·_r~ :1! =.ippro:x 1730 . l~:.t. ~qua<l 1:--;t Platoon ;.if the S.71:,;t ;;.,.-iililar\ Poliel'
                     artL·d foriva:1.l tYpt:rating hns.:.: (F(;J_{) \\·~rhor~~e C!trouh: to 01t.+ ·i ;:)hr!r Jraql i-'c,Hc:~
                     1   uth ::,rt .HJ 13:-i-::rnhaiL ·rht:ir rca::;(tn for 1.h,;· patrol ~,,v~1s 1c, 1n::?~ r.:.· t~otd~t\:t ·-..\:jth the




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                                                                                            th
  ~tE:,10RA.i'\fDL1?>'1 FOR._!___.:....(b~)(-'3)'-,-'-(b"'"')('-6)'--_ __,L Comrmmder. 89 \fP BDE.
  SUBJECT: I 5~(i !n<.dtigation Findfogs and Ri:i::nmmenJations


 •;[ati{)n chit·f and inf'nrm him that t\cvo of his [P that lmJ Jy.:,,:n detained under suspicion of having
 ,:onm!ction::, lo :;:;,pim,iv<'; materials bnJ been cleared. n:udy for pick-up, and conduct the return.
 Mr. Legrand imd joined tht: patrol to ernluaw the need for night vbion d,evk,.,c.s :md otht,r
 equipment n:qm:sted by other IPLOs which he supported. {Exhibit XIL nI, V. Vff)

    h. Traveling. from FOB \Varhor;~1.·. ~he patn.1I cncounli;:rcd no enemy t'.Onlact. Atlcr the
 squad r;-:acbed thic' Tnhrir IP stilion. th,:y retumi.:d with an IP patrnl b-ack 10 FOi) Wadv
 conduct the detainee rdeast~ again \'Vith out comucL {Ex hi hit XIII. VI!, m. V)

    l'.. At approx 2050, the squad along with the iP. began their return patr
 tetum the IP tn their station. Prior t(} their nmvcrr:ent. a check with the batt                                  sun
 rnrrenl rnuk (RTE) status, revi.'.:ah:<l ongoing operations nn one of the pr·                               . and that an
 .iHemate routc had recently been ck-<lr(:d. The patrol's new route                                          ug,RTF
 Vktory. east on RTE Pacific, and back ,;01:rh on RTE Uo!d. iE                                           L V)
      t:.. The vdiidc cui1figumtion as they lefl the H)B ,.vas two                                ·hides. then the Iraqi
  P,1li,x tmck. foliowcd bv the trail two US trucks. U.S. Vehicle 1                                 (b)(3), (b (6
~)(3), (b)(§~lrin,r SPC I .egr;md.        (b)(3), (b)(6) and h
  r fPL(n l\'1r. ~hHl >r_ \-' ·•(," ~·e 7




      f.   .:\s tht.~ patrni 1urnc.;d onhJ f-rrI~ (
 iliiq.:liLmrhoud K!l,Y\Vn ,1:,: Old Haqubah.                 truck ,,.as slru~k by n hmied irnnrflv'is;:d
  ~:xpJosf\.:(! device bt:Hcv(~d o h·~;-·••,                  ine combined with :in accdt:rwiL Almnsl
• incitm"lliy. thi:                                         (Exhibrt lL Ill. V. ViL.Vlll. Xlll
                  '----------


   g. Of the occup~uns. t                                                (b)(3), (b)(6)
 well a.s                                                                (b)(3), (b)(6)
                                         and, wi~~ killed instrunly in the blast. us he wa;; found \Vith scat
                                      , i\·lr. Burler, was nblc m :·,:-rnovc himsc.,lf from the V(".hicle hr:fon~
                                     mds outsidi:: immediately ncxi to the \·d1ide" (Exhibit VlL \HL XIl

                                               (b)(1)1.4a                      (b)(3), (b)(6)                    he
                          -~=J_\!::.L1!::L__ _ _ _ _ _ _ _            -1r;m fonvm-d l':"i'.Hl their trm.:ks to ~·li,);i:;1
                             Wever, upnn movemtml fonva,d. gm111wn in Hw building3 to the e;1st and
                    ·1\.!·T Ioc~1.tion. approxirnatt-ly -10 md,.::rs :;way ini1inti:<l fire with small :!rm;; cind"
                  led gr,',,ad;; wl!id:i strw::1-: rlk 11,ready damaged trnck. (E:<i:ihit !1. 'Vil. V. IX. XL




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    1.    Rc:a!izing the Ctnt1pkxily of tbt: utrnck~ (b)(3), (b)(6) lreturn\.'.:d w his vd,icle {!tilh.:d for a
 quick ,.,_.;~,..:iinn for;:c: iO provide immcdime ussistanc-: at their k1catim1 [1_1 hdp lt:nd (lff th£'. en\'.my.
 O..:xhibit H)

   _1.  Whlk waiting for help, and still rrylng to ge1 to the wo1.md>2d men. th(~ mem'.:,,::rs ofth
 squud acquirc'.tl idcniifi..::atim1 of the enemy und F.:turne<l fire from th1;.•ir !'v12 .50. cnL n~ ,
 from tlwir tv14 ril1ces ~md M9 pistol:., !Exhibi1 XllL IL HL V. V!IJ

    k. Om: to the he:.it of the vehicle. the AT4 ro,:ket located in the ba::k 11 •
 as wdl as the c:xtta ammo cnrried in th1.• vehkk. again ,xmrpmmding the .si
 s,amloffhetwcen ihe- men. (Exhibit Xlll. Ill, Vll. V)

      i.        Upon ~ndly nxt~hing ~he d~imng~I t_n:ck.l (b)(3), (b!(6)                                                       dj~cen1 building
 ,vlit:re a c,Gmllly l:o!k'CHon pomt ,Vt.is t:si.,m!tsm:, . 1 • , •• 1ca                                              1. 1 lhe sirykerJ, hnd
 ,m·i\1:d nn S\C~·11c· a,; wdL and had rer.:ovcr-..::d (b)(3), (b)(6)
 b,:- t;-,..-::Jted. ( Exhihi1 :(L XllT. Vfl)

      n1.    } ·;1c :~tryk-:::r n:~e<lh:.~ n~ttrH,; uukn1:h",Tt .. n·z!:i ~ihle to                        (b)(3), (b)(6) 1~u1d h,c,gin
 t,,~·,:ii·nd ai,L ,.,, Hie nths.:,r nE·mb,.T:; of rhs: squad                                    o (~\11-ngui~h tht: fin: i11 the tn1ck
 l\ irh ,h~:ir c,1inµui:-:li•:r:,.        ( E,d-1ihi1 Xi.. xrn, Jl

     n.                                                                           d :1c:r 1s·j    (b)(3), (b)(6)      ~dw h:::d li>:<::1
                                                                    ·,_;_,n hlln :l;r bi~. hi.Hit.; ~~:Id ;.·,th . . . 1 ~=¼~rious ·in_iuri(::-:..



    i}.    Afrerl (b)(3), (b)(6)                                   anJ h,adt:d i11w Hw :drykt·1:;, th,! rc;.;po;i:.:;c frin.:..-:
 n:tun,~~d to F(H.1 Ciitl;.,,:; \c1fht:.n:                    ic'd lht: wounded men 1.0 Bulat\. {E:-:hibit XI. \/ff)

                                                   und \Y<1S s~:cnrt;>d hy ,mother Cn.t:4F.:r ek~n:cn! from 2nd
                                                 A,n !mqi firdighting unit abn was 1:fo:p?1chcd by rh,,.·
                                               gan w cxiinguish ihc humiug vehk:k. (Exhibit XHL ll. VII)

    q.
                                              (b)(6)


                             sd:'1 then r<.'.m1,v-:d th<.'. ,:k,,lmyed truck to FOB Gnh.:•. \·,hilt: th<.' \'.·1Ps r.:tunk~J
                            ch-: ,;e.::n for their ii~jurii.:s and chf:ch·-d hy tht' aid ~t:won. ll:xh;hil Xll.L ll.




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  \lFMORANDI JM FOR j                 (b)(3), (b)(6)                           I
                                                         C,mmandcr_ g9ti; ?vlP HDL.
  :-;;:JUF('T: l:i-6 !11vestigmitm Findinµs,:ml R-::co1nmcndatiun::


    :L i lind that SPC I !.':grand ;md Mr. Hutkr w1:...-c unii.,rtunatdy killed in ~,CiiPn dm: to injurie:;
 sus,aiu,:d from a buried IED. lbe ll'D !ilas, was !->ever~'. 1::nnugh 10 inu,.;)1-".;'..:.:d""i1c...11c.c-:.;;.h-.1·--"""'"'"""""""'"......-,.--'
           b 11.4a              ff or all nn,l!IO and (;;~plo!!ive 1.lc,vke,;. Tht:                     b 11.4a
                  leaving nothing morn than the do2,b0u;o;~. Thi.:                  •            (b)(1)1.4a
                         (b)(1)1.4a                                                 l
                                                                      llie TED is bdic....-1:'.<l to have b-een
 rank mine with an accdcrant added t.n the mix.

       b. ·1 he actions post detonation ofth~ squad ultimately saved the lives of other mem
 dm11agc<l 1ruck \Yithin during the midst ofa complex attack. A!F had stm.tcgiccll)
 ther1tselvi.::; to allow fbr plunging fire alter the unit would b~gin 1.::covcry d
 ;_it,h; tlJ n:pcl until more assisiunce could arriv;:: on sci.me. AIF had flank sid
 in onk:r tu cxp!r.,it :-;i:cu:ily vulnernhUitic:s wniJ:;1 the dmo:;.

       l.'..   l he kica1frm in Old Baquhah hus hc~n the site frn- scvt:rnl
 i;1:~t r110nth :1~; wdl :.i.~: !ED aciivity.




       ,!.     I rc:c1>mmend mc'.rnbcr~; i)f the sqmt,1 \'>·hi·, b<!lj:wd
 ,lc' 1 i1 •n-:


                                                                                        :oaiitlon uni·i~~ i;S ,rn (·:-,,:~~1nn!e ufdh·,
 ,:1.':inr-ti::~:ir~-_ \\fnnnt::k:,; \\'hi(:h ~tt\:.~ bting ,..:;                ·r us. in ~:-rJ~r :n !1fn,;:; pn. ~pHr(: jl-g· rl)e
 :~dt{··\'./·nn :.:.,,.-\r~ ~~veiyunt: "hou!d bi: avi.:•·.
 lt·:.;·n,:d !hi..· \\·,:uk :;rot:; in 1.hc in,ck. cou
huried il:i);,.

                                                                                        (b)(3), (b)(6)




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                                                                                                                            SECTION ! · APPOINH1ENT




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                                                                                                                                 Sf.'CTlON 11 , SESSIONS
                                                                                                                                                                                                              _J


                                         (b)(3), (b)(6)




                                             (b)(3), (b)(6)




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  j fni;.l!_;,:".i,!!t1.:,"; j;"lf:tri


  I; .,t: .;:::7'""
  !' t




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          l!Ji:,.f:-f_·_!r,;::ii (-';_: ~(, '.:t-::_;:·• 1,1,:.: 1,.t,l ;.:_,.:;;_   .;-:•,.. h"!   H.1~   -:{J;~;:,j.s:.l :·:~ ::1:·;-:1r. •.~.      :r.:r::,~·




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     i.                 ,~-·---·~- --- .
     1t            • . ::,; '";,:!£,'\•.   ri1 .'.H ;:,rit:J:!•,; 1lfl{; -:•5        Tti   ;';<   L ~·-,"l-"j--:·,-,,,
                                                                                                    0




      _ C•\iPL ;:; tt GHL • f:·!:;r~ ¾.:iJr~i:.1/,L PC:/\!~D F1 R(j-c~.:EGP:G3                                                                           (-::hapfry·.__:;:,_..:...::.::_.:..:::_:,:._
                                                                                                                                                                      5" AR 15~6)                        ______________
:. !;;~:::li~~~;;~;;:~:::;~,:i.                                  11:::~;:::::.~--~r~i· or d•Jl!lr~rn~                            :lhI]~'.}1:?:;r~~-ill::.:;,d, !en~1                         the               (;f fl!ip('i~'.::~,o~! /P~r,v               ~~~'\ /1/:'
J    f ~,'.}.".'                                                                                                             {f.\;?f3 :~.. ,,3   A(-:
~ - rVVere !._..~_,mll::efs., ,~H~+;s:,e-;. rer,nrter. unrJ Inte1pri!iC:..'.f S\\~,,.:irn. U r:::-:t-i~red {para :~-1. Ai;: ·t:5,t.)j?
     t·u-£.:11';' n~r:n~!~-'.)I~ \'",,'t11J \,-"()!e-d f,'ln fincrinW-.i Cf rec~m;n,cnd.~ei-n.ns                                     '!.'~•e r.n{ pf t,?-Se_n_t_\,-,t-1t:-·l_l_!l_t?.._'_b_c_,!l_1_d_,_CC_C_i•-N~:-·'.·,1--~-::,-,r,-..-\!-P-,.,--ict-.,-.,:-'1_C_{~-.- - - - -

     ! :l;;:ef, !'E: 1rn.;itY.;-Urt: ;itJscnhr: hOYi tht:tV fam1n,n~;(\tj tr"ll!!"l1Y~!;l.,.·as '..Vith ttt:H ~'1l-dnnC-!! {1,r.:Jf~t :":-2-d. AR 15-.-EJ?



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                                               nrid rJatc er Hchf/Off to tne ruspf;r;t,:~n1
     '--------····




                              :h.:t n;,~.pontl1;'!1l'1; r~:1htD ·,1i:: 1 ·;,·•:
                              ::"1~t nam..:-1       ;:nt.i n:};h:!.:i:7':~ nef -
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                                                                                                      •:~ :i-,,- ;:;:tu!? tn !J;; ;;;::-cBcr:: {iy 1h.z: f(~O:PJf;r~J
                                                                                                                         1


                              i:,~t :~-:;,i:•\.if'-~i f~~·tf:~ f i~~t1;.:l !u ::t{! ~}!~:HHtf
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              ; ;, :,•:•r-:- ,1n•J !•·.JS~n..:-c••::-; .a,;j.;lrs-ss ~1! r:-:C1:-1~~d




     : .~     if rd_EftiPi i:wm•;el •At:7'~ r~qu~:•:.-,•::,·I b~tt ut;i
             ~J;:tton H1k~n -:;n it ind1tdi:,-i in ~nH r1::tfJ~1




                                                l~:-•   i"'{•r.or;fFr ,1~~;=:c:-:: -:;v:- :-:~:;;;;·;r1dr:t1r in :-·r:t::-u 1 t:1,} t:•~·t,'k:Pt>-? ,fl J.:--.'!'.,-.:~•-,<;.;!;;.::s!I c;f lH~ (:",.:·-.'t:"-T-ll:.r1ni ;.)fEf f
                                                ,((;:",C11Cf> of ·~·,'itn!:~~-:-,F:;:             fp,l:.-1 .i -B;: Jd'-.: f ;':-5,1?

       :·.i'•:· :1-.! :) ~i,., f'T?·-:.r;-::!it.lfW::·_:..; 1-2:]:E/~i:, -'!•JtJ ._,t.•_i;/;ni...;¾i:, 1.~:,,-:.:n •_•,-<.!-L,: i:···•.:r:~>'J             r:,".Ilt:.!~~,.;--:l r, !Je, r~~'tti. r n' :-;;,':t:".•~i!::,;1~1:::- ::r H"; ,~-1-
       !:-,,::~a:::::::·~ ~;; .i-Li:1·,:: !;_·; !'                •:/.;-:!:[}::-I:' llF: r.:;.f_i,l ;_,




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                                                                                                                                              .: · n,igl{l~s~if'IED 1 ' 1 ,:;, ::,,1.
                                                                                                                               ·:<~;1f~·•f:fr;.-,d1 : !:us •::!,;,;n:~n,,:_.,j," f.fJ-t.iS


    ft J:: ! ":H ·~._f(.'. ;.; ::;-:j'fh•, I :)i_t, 1~! ~H1,1a-.f (s! t~Lt!\IO:l ,;,f the 57}:-,;: ."..1iliHry p.,-,.n,~ ..: .:~r,:·,ip.:.1:.-. .Jq,;irli:~) _!~f••·,;r;~ ctp::-r:,::.i;·. g h:d:t' 0 DB_. \.~):tdH;.-r:..< ,'r:C\<t,!l;: :,.. !Lt:: fd);ir fr:-i.qi r,,:,tp..:t.· Jl?'i
    I ~·.,·••}1> ><•11!}" nr OhJ U,:;1fi:<1 1 f(dl' ?Lt~•PIJ h\J ti~\: p2-~niJ •,11.T:- t:, ;.ti"~lt.' {:u;1f.1,,:! •\·:~t~: ;~t..: • ~:diii11 dJh!f ~,n0 w_fn;:-n; :i1u11 !kH !'"",.1 -c•f ht;, Ii• 1:l1tn ?v.d f,1;::u1 1h'l!!l>1·.~,t ,1:1.dt..... .:;,::,Fqn~: 11:
    l            -~~o:,;t::.;11,.,n• ~i' •.·~·t•~lhh,;: un{·:d:iL, h:iJ tn."•.:.~tl .\:j.:i.;t~.:-rL fi;.;_1J>~ f-i,ll' fl!C~>•'.'.tJ. ~~.:J~ •'.'"0!'1kr! ~:~i: f?H'fri. rr.1<.:·e!llti.,i 'Er;:,t; ron \V::-;):)f~e'. ~:1r. p,:• ... ~,i ~:<:1~·-;,wncr~;~ ~1: ro:·n: •'"1!;J•'J~
    ) ____ lh-:: ~·1w1..! 1-:r••~-;h•.~ 'hr j;~htll 1!" :•HH111:: rhi..·:• t~~t:::';l~·d ·.'.!Hh xn H' p.i!r..-,! ;-:.u~t :\, i-tln ;\1111:•:!f-;.-, ltJ' 1..11.r;dt..:!.'..r U•r. ~?-,:c,1;_i,.~;.: H.:t1.•,;t•ic-~F•::a •ntJ; ,,:U .::..11,;.~t:-1


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    i ·•--•n•,            1
                        t• • n,r~ni· r•.H-~-: ·RI f•:, .;t ,~•,;.                    :{.·t·.:.-dt•d ..:-•tl!~Ht•.~~ FV·~':~Li,1~:. ~·h ,jj,-:• ,;i ti:.. 1•:~;;:1,i;-; :::•.n~~i.:~. :•t>-d il;...i.i ;;::; ,iH-:on;.h: 1:1.~i,. h.d !i.'1,.,;r.tfy k:1.-:: ,:!-:;·l.'t·,~t1 ff;., p:t'.-:qf-. h•; <, i.,i1L
    j-:, ,.,,:,.: f,.._- •t't.J:1, :1 ,'•t-;: g l L V,.:-·•~·n. -:,,:;:.:: ,11< t-: fr r~;;.;,t:;c araj h,1:;-t; _.-;y~n71 ,,r. 1: n ,. .al-.:!
                                            1
                                                                                                                                                                 (h,.·. ;'(11,.'I; !..H:t:~;-·,.:-aticm .:;:. fh:•· id' n:;: I Ofi ·,•·~~:-. iWd, ~q-:.1 n;;,;:J •,ti•;;_ k~, ;f·,;t- r-1:· Jr,np
    f !',di,··.' ~1,:::,)-•. i'HJ'i,1~;-;:} !•r JJ1.._,· 11,;tj \-.~~••>~~Pk~,:•,
    t
    '
    ir'::'=~\~,c~h::~:r:::l:i::1:''::l.:::::::~::~==~=~::::::::::::~::::l.~t~~~n~:i:j::::~:~jtii~~~~t~i~'~-j~JJ~l~:1~-,t'~r~HL~fl~k;:I';,a;l;Jx;";t;,;c;l;;;;t!~.<~~;•;'J;;;·J~~'~;!;l;f;;L;,•!~l;'•;n;r;;~•;;,-=;~;;;;;~~;;
    l .,,-'\ 1t·it: •                                                                                                                                                 /1.;;   tb~· pt,irol tur::o.l {,i;HJ R'i l: ti•'JU off of !;TE. P.1·:.1fo.:.

    I'.,\~~\',','.            .J,1·t11': lh,:     :,o;,1,;~ ,:.,,, ;,:~
                                                                                                                                                                                              "::~!fl} ti\ .:J            ,          vr:ii ;ui;.tn.i
                                                                                                              i.r,;~d-r imrr.et.h::::•:1:~~ 7l.!~1 H.\ th:- i.~i1irl
        :·,:-;~. L ________"""'"--;--:--c-,-;-:-----:!UJ.l.'2.4..1~1.!,1.'---::----::--::--:------:---:-:--::T~!l for•:qrr::: :·:-t.L".cl ·:,t'if nud:s ti;·,::.. "'
                                                                                                                                                                                     1
        ~:·,:.: ;:.~: : '.': : : : :·;~: ·:~:~:~:~:~~:i,l :~: : ~~~'.i~~:;:~:; .:.~.!:1~:~~;~:;~:~:~;: i:f~~:~~::~:'.1:~:~l~.,~f:,~1Iv~.:,~},i~f~:~;~:'.:-~:~,~:.1:~'.; !:1:-~~:~~:~: :.l: : ;~~I
          ,~,~,:- 51: t ;!;{q;;);:{i ~lh: ?.l\<11: !h·.!~! .\.,.::. :--iL .;;.-_I, tl1 'i<.r,;U :i{!l ff'::·n:. !bdr ~.."!•1 rf't!,:--; ~m.J ~l'.J pf!>'i)IS.                 nm.~~.., fre- h.:--~1 fifth,: '\,:hitl::.~. t!1
        - ,.p!,,,h~(t         ;.i·.   wi::l :1·, 1h~.- 1."•;;t:-:, iHt11H1 G\rrlt\t tn Fw Y:.:h.:i;.·k :1r.:Hn i:i-m1,;;-:,1:r.dfv~; :4!,· ·.io::.;t-;n: l:>H:.-_:,1:1~: t!;.-1-: s:.-2n•J(,ff bvr,•.--e-:::1 The


                                                                               tr:h:i,(b)(3) (b)(fl}..::::i J~l;i.;;!! l!~!,~ :u~ {i~;,,-..·.~:): :_q~ihilr-g vAi!;r~• .1 ,c:"-n:.th~, i'..l:'dh°:t..!i,:',F p;•iw ~
                                                                                                                                                                                                                                                                                                                        l!:
}t             ·1. flf,:.,..,;;.'. 1::;ii:.-HHr-:: ;:1;: -;i;d!~..t1:=,,_,"d
f ·.11 •• ~.-,- •••                                                                    ~
                              , -- ·.:i.:d ~m :.-..~t.::t'\.· ~,~. -;-.~H ~a,.. h~~u ft~•t.·nv,;.p,::1f(b)(3) .(b)(6~~Hk• 0.1,: t-1f r3 ..!it ;,·du·.:.L."S :--i:i h.:.· 1.3J=JJ£. ti.: ~it:;:n;;.-,.,; Th:-                                           -,:: ur.:1.f •,,··:1.   V~b ,tf:~·;: !ft !:r..h up
J                                b )-:H! tt ..·;~m ri;ni1;;.·:g ,1ht t", lt11.._. iilt;\·r !;a•mt1rr.:; •It tt1~ •;.:;!Ud Iri.::: ..I ,·1·/1h:HI·~ tu i:: ,tm;;Hi:.h !~H! ft,:1' h                                                                                     Tb: >IDl,i.'.r ..•h."n:~Hi ;!1..'.:IJl•c;~         '.

l .., ,
(                    b        . )"d !d he, "'!(b)~3), (b)\6l'(.' h.•,J !•en, 11v.,n,,: ·":·<Lk nf '.'
                                l,;.,;.Jc,J 11"•· •h·J' r'·"'·' l ,c ''"f•'"''·" lwc.: 1•;•tt;,!l•>:i '" H.k:
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                                                                                                                                  ,,?,ti: :l:c; .;,:~,... ,.(.';l ,:,~ .,,.·
                                                                                                                                                                                                                                                                   '•f•c(b)/3), (b}(S}•,,:•: ,itl,HC,·                  L
         L,:     ,;J~.! .1';'1..:': nft'.1.; 1-.: "riJ'i•~:1f •·.:r,~. ••:-~•,,,·:-._; ~--~ :,:p,rth,;-~ C:i.1~,h;~: i·h:n-,t!~t! """fi"i .~;,.J fi'.,H" •r, ~.,_-k,-. !,,;i:i ;..'.:u1".'"'


    f:' ·:···,,: '":•.· ··•h•:.""_':;,! (~_;·;~; •• ~·::n::; ·: I"11'-'• ,,,•• ··r::~_:::.;:~::''.~t.:.:::':~. '.;;•~I}":::·..'~'; Hl:•:~~::;·;,'~: : ·~:"_~-~ '::.'·;' ,,;




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                                         USARCENT FOIA FA-22-0067 Batch 2                                                                                UNCLASSIFIED                                                                                                                          10
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                                                       (b)(3), (b)(6)




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                                                                                                          _ _ _ _ _ __,J




                                                                   (b)(3), (b)(6)




USARCENT FOIA FA-22-0067 Batch 2       UNCLASSIFIED                                                   11
